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Dear Judge,

my name is Olga Parshkova. I have known Vladislav for more than 10 years. Throughout our acquaintance,
he helped me more than once. One day, I got to a not the best hospital, they took me by ambulance. I
didn't bother anyone about my case. I don't know how Vladislav found out about this, but closer to night,
he took me out of this hospital and transported me to an excellent clinic, where I received qualified help
and quickly recovered. It was only his merit.

Later, I broke my leg, needed surgery. Vladislav put me in the best clinic, to the best doctor and paid for
the operation and treatment. Thanks to him, I recovered .

Three years ago Vladislav helped in the repair of the Sretensky Monastery in Moscow. The roof of the
monastery was completely worn out, Vladislav repaired everything for them, of course, free of charge.

Then there were several more appeals to him for help, he did not refuse anyone and did everything for
free.



Vladislav always actively helps the employees of his company and their families. Helps with funds,
arranges for good hospitals and pays for treatment and childbirth.



He is a very sympathetic and kind person. He will never leave anyone in trouble.



Vladislav is a wonderful father, he has 5 children, he loves them madly, he deals with them closely,
educates them perfectly and develops them, is an indisputable authority and example for them.




sincerely, Olga
